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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

DONALD HESS and ELIZABETH                               §     No. 1:22-mc-00480-RP
PADILLA, individually and on behalf of all              §
others similarly situated,                              §
                                                        §
                                      Plaintiffs,       §
               v.                                       §     Underlying Litigation:
                                                        §     Case No. 1:21-cv-04099-AT-RWL
BED BATH & BEYOND, INC.                                 §     United States District Court
                                                        §     Southern District of New York
                                      Defendant.        §

      INDEED, INC.’S UNOPPOSED MOTION TO EXTEND TIME TO RESPOND
                     TO PLAINTIFFS’ MOTION TO COMPEL

       Indeed, Inc. (“Indeed”) respectfully submits this Unopposed Motion to Extend Time to

Respond to Plaintiffs’ Motion to Compel (Dkt. No. 1).

                              I.   RELEVANT BACKGROUND

       This miscellaneous action arises out of a subpoena for documents that Plaintiffs served

on Indeed (the “Subpoena”). See Dkt. No. 1-2. Plaintiffs served the Subpoena in connection with

a lawsuit pending in the United States District Court for the Southern District of New York, Hess

v. Bed Bath & Beyond, Inc., No. 1:21-cv-04099-AT-RWL (the “Underlying Litigation”). Indeed

is not a party to the Underlying Litigation or otherwise involved with that litigation.

       Among other things, the Subpoena asks Indeed to produce “[a]ll job postings” for

multiple job titles over a four-year period across the entire state of New York for Defendant Bed




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Bath & Beyond, Inc. (“BBB”), a large North American corporation with over 1,000 retail

locations,1 employing approximately 32,0000 associates.2 Dkt. No. 1-2 at p. 5.

        Indeed objected to the Subpoena on several grounds, including: The Subpoena’s requests

were unduly burdensome. Dkt. No. 1-3 at p. 2. Indeed also informed Plaintiffs’ counsel that the

information sought by the Subpoena could be obtained through less burdensome means directly

from BBB, a party to the Underlying Litigation, instead of from Indeed, a non-party not involved

in the Underlying Litigation. Id.

        In March 2022, Indeed’s counsel spoke with Plaintiffs’ counsel by phone about Indeed’s

objections to the Subpoena. During this conversation, Plaintiffs’ counsel stated that he would

request the information sought by the Subpoena from BBB and would follow up with Indeed if

he was unsuccessful and prior to filing any motion to compel. Indeed did not hear anything

further from Plaintiffs’ counsel until Plaintiffs filed their Motion to Compel.

         On May 16, 2022, Plaintiffs filed their Motion to Compel in this Court, seeking to

compel Indeed to produce documents in response to the Subpoena. See Dkt. No. 1. Plaintiffs

served Indeed with their Motion to Compel on May 24, 2022. Pursuant to Local Rule CV-

7(d)(2), the current deadline for Indeed to respond to Plaintiffs’ Motion to Compel is May 31,

2022.

                                      II.   ARGUMENT

        Indeed respectfully requests a one-week extension of time, from May 31, 2022 to June 7,

2022, to respond to Plaintiffs’ Motion to Compel. Good cause exists for the requested extension.



1
  https://careers.bedbath.com/us/en/bed-bath-beyond-stores (accessed on May 24, 2022) (stating
that BBB has “over 1,000 retail locations”).
2
  BBB Form 10-K filing with the U.S. Securities and Exchange Commission for the fiscal year
ended February 26, 2022, at p. 9, available at: https://bedbathandbeyond.gcs-web.com/static-
files/5eb37112-dd42-44ce-be33-8f8967248deb.

                                                 2
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Indeed needs additional time to further research the availability and accessibility of the

information that Plaintiffs are seeking and to respond to the arguments raised in Plaintiffs’

Motion to Compel. The requested extension is also not made for the purpose of improper delay

and will not prejudice Plaintiffs.

       On May 18 and 19, 2022, Indeed’s counsel conferred by email with Steven Moser,

counsel for Plaintiffs, about Indeed’s requested extension. Mr. Moser advised that Plaintiffs do

not oppose Indeed’s request for a one-week extension of time to respond to Plaintiffs’ Motion to

Compel.

                                     III.   CONCLUSION

       Indeed respectfully requests that the Court enter an Order extending the time for Indeed

to respond to Plaintiffs’ Motion to Compel (Dkt. No. 1), up to and including June 7, 2022.

       Date: May 24, 2022                             Respectfully submitted,


                                                       /s/ Ariel Henderson
                                                       Ariel Henderson
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                                                       Indeed, Inc.
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                                                       ATTORNEY FOR INDEED, INC.

                             CERTIFICATE OF CONFERENCE

       I certify that Indeed’s counsel, Andie Barbour, conferred by email with Plaintiffs’
counsel, Steven Moser, about Indeed’s requested extension. Mr. Moser advised that Plaintiffs do
not oppose Indeed’s request.



                                                              /s/ Ariel Henderson
                                                              Ariel Henderson


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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 24, 2022, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing to the
following attorneys of record. To the extent any such counsel is not registered for such electronic
delivery, the foregoing document will be served on the following attorneys in accordance with
the Federal Rules of Civil Procedure.

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                                                      /s/ Ariel Henderson
                                                     Ariel Henderson




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